              Case 4:17-cr-00319-JM
                                 MJStarDocument        14APPEARANCE,
                                       Reporting: INITIAL   Filed 12/15/17        Page
                                                                     Length of Hearing( minutes):~
                                                                                         1 of 1
                                                                 ARRAIGNMENT,   Length of Hearing (minutes):


                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF ARKANSAS

United States of America

vs.                                            CaseNo.:4:17CR00319-02JM
                                                       Indictment
Nathaniel Burroughs

                                  PLEA AND ARRAIGNMENT REPORT

 Plea Date: 12/1'5/2017                                        Deft is /  is not_ _ in custody
 Continued Until: - - - - - -                                  _ _ Deft did not appear
 Reason for continuance- - - -                                        Clerk to issue warrant

                                                      COUNSEL

Assistant U. S. Attorney :         Michael Gordon
Defense Counsel: ~            ·~
                    =::'-~_.___-'-i~,,._,.,"-'---:""'~..,,,._~""""'-~~~~--'~.;.....,,,_,..--

Interpreter's Name: ~~lo,,Jlo..~tr.--:l.Dlo..,,U_l~--i..e~..n.-;;;J>.../..~l,..!..-~~~"°"-"ill\--+:.....0""""""L____ _ _ __

                                                          PLEA

TRIAL BEFORE DISTRICT COURT                                        CONSENTS TO TRIAL BEFORE MAGST.

Not Guilty " /                                                     Not Guilty_ _ _ _ _ _ _ _ _ _ __
Guilty (ind-ic-a'"""te~s-d-e-s1-·re_)_ _ _ _ _ _ __                Guilty _ _ _ _ _ _ _ _ _ _ _ __
Nolo Contendere (desire)_ _ _ _ _ __                               Nolo Contendere
                                                                                           ---------
-~\./~_ _Demands Trial by Jury                                    - - - - - -Waives Jury Trial
                                                                       Deft agrees_ _ _ _ _ __
                                                                       Govt agrees_ _ _ _ _ __

                                                          BAIL
Bail Set at:   D\\\2                By:--S3°' \(                         Date:       \
                                                                                         .'d, \ ~\ \--'\
                                                                                             \           \


Bail Changed to: _ _ _ _ _ By: _ _ _ _ _ _ _ _ _ _ _ Date: _ _ _ _ __


Number of Days estimated for Trial: 2 days
Estimated Trial Date: 1/16/2018@ 9:15 a.m., before the Honorable Judge James M. Moody
Jr. in Room 4A. All Pretrial Motions to be filed within the time specified within the Pretrial
Discovery Order, to be entered forthwith.

Other:   ----~--------------------~----~




 DATE: 12/1Sf2017                                          SO ORDERED:<
                                                                                U.S. M~\EJunt'Y
